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Dated: July 31, 2023
The following is ORDERED:



                                                         ________________________________________
                                                                      M. Ruthie Hagan
                                                            UNITED STATES BANKRUPTCY JUDGE

____________________________________________________________
                           IN THE UNITED STATES BANKRUTPCY COURT
                           FOR THE WESTERN DISTRICT OF TENNESSEE
                                      WESTERN DIVISION

         IN RE:
         HOLIDAY HAM HOLDINGS, LLC                                Case No. 23-23313-MRH

                 Debtor.                                          Chapter 11, Subchapter V



     ORDER ON EXPEDITED MOTION TO APPROVE SALE OF ASSETS OF DEBTOR
   OUTSIDE ORDINARY COURSE OF BUSINESS PURSUANT TO 11 U.S.C. SECTION 363
         AND ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS
                     PURSUANT TO 11 U.S.C. SECTION 365


         Upon motion being filed by Holiday Ham Holdings, LLC, the Debtor-in-Possession ( "Debtor")

 on July 13, 2023 (ECF No. 12) pursuant to 11 U.S.C. Sections 363 and 365 and Fed. Rule ofBankr. Proc.

 4001 and 9014 (hereafter the "Sale Motion") requesting the Court approve the sale of certain assets of

 the Debtor and assumption and assignment of certain executory contracts according to the Letter of Intent

 ("LOI") dated July 12, 2023 by Lift SPV 231, LLC (hereafter "Lift") in the above named and numbered

 case. Pursuant to Expedited Motion to Shorten Time on Objection Bar Date and Notice of Hearing (ECF

 No. 17), after hearing, the Court granted the motion and entered an order (the "Expedited Hearing

 Order") setting the hearing on the Sale Motion for July 28, 2023 at 11 :00 a.m. (ECF No. 28).

         A "Limited Response" to the Sale Motion was filed by Craig M. Geno, the Subchapter V Trustee

 (ECF No. 51). An Objection to the Sale Motion was filed by the United States Trustee (ECF No. 52).


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The Court noted that the Objection of the United States Trustee was not timely filed and should be

stricken but allowed the attorney for the United States Trustee to participate in the Sale Hearing.

          The Court conducted a hearing on the Sale Motion (the "Sale Hearing") on July 28, 2023, at

which time all creditors and interested parties were offered an opportunity to be heard with respect to the

Sale Motion. Appearances were made by Toni Campbell Parker, counsel to the Debtor, Jamaal M.

Walker, Trial Attorney for the United States Trustee, and E. Franklin Childress, Jr., counsel to Lift. In

addition, video appearances were made by Craig M. Geno, the Subchapter V Trustee, Matthew R.

Murphy, counsel to Pinnacle Bank, and Adam C. Crider, counsel to FirstBank.

          Counsel for Pinnacle Bank and FirstBank announced the support of their respective clients for

approval of the Sale Motion. Testimony was given by Lucius D. Jordan, III on behalf of the Debtor, and

a Proffer given on behalf of testimony given by Joshua Lipman, a member ofLift in support of the Sale

Motion.

          Based upon the record of the hearing before the Court and the arguments of counsel made, and

the evidence proffered at the Sale Hearing, due notice of the Sale Motion having been given in

accordance with the Expedited Hearing Order, it appears that the relief requested in the Sale Motion is in

the best interests of the Debtor, its estate and creditors and all parties in interest in this Chapter 11 case.

At the conclusion of the Sale Hearing, the Court issued a bench ruling based upon the record of the Sale

Hearing and this Chapter 11 case. The findings and conclusions set forth herein constitute the Court's

findings of fact and conclusions of law pursuant to Fed. R. Bankr. P.7052, made applicable to this

proceeding pursuant to Fed. R. Bankr. P. 9014.

          IT IS HEREBY FOUND AND DETERMINED THAT:

                                            JURISDICTION AND VENUE

          1. This Court has jurisdiction of the subject matter herein and the parties hereto pursuant to 28

              U.S.C. §§157 and 1334; 11 U.S.C. §§105, 363, 365, 1106, 1108, 1183 and 1184 and related

              statutes and rules, as well as various orders of reference. This is a core proceeding.

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        b. The recipes and non-exclusive rights to use the recipes for pimento cheese, chicken salad,

             tuna salad, egg and olive salad, black bean com salad, cheese dip, salsa and salad

             dressings in the Grocery Business to be marketed under the Pimentos trademark

             (collectively, the "Recipes");

        c. All rights and obligations of Debtor with Kroger or any existing purchaser arising under

             those executory contracts for the sale and purchase of the Pimento Products identified by

             Lift to be assumed are hereby assumed and assigned to Lift pursuant to Section 365 of the

             Bankruptcy Code (the "Sale Contracts");

        d. The Management Contract to be assumed is hereby assumed and assigned to Lift

             pursuant to Section 365 of the Bankruptcy Code (collectively with the Production

             Agreements and the Sale Contracts, the "Assigned Contracts");

        e. Inventory of Pimento Products existing as of the date of the closing of purchase (the

             "Inventory"); and

        f.   Rights to intellectual property used at or in connection with the operation of the Grocery

             Business including the registered trademarks for "Pimentos" filed as Serial Number

             87084773, Registration Number 5243163 and Serial Number 879752951 Registration

             Number 5296560. Upon transfer of the registered trademarks for "Pimentos" Lift agrees

             to the granting of a perpetual license for the use of the tradename, Pimentos, in

             Restaurant Operations only to the potential acquirers of the Restaurant Operations.

    9. Debtor is of the belief that this is the highest and best price to be obtained from the Assets.

        The Court finds these assets constitute a portion of the assets of Debtor which currently are

        not necessary for an effective reorganization. Further, the Acquired Assets being sold are a

        small portion of the overall property of the estate. No commissions or broker fees are being

        paid in relation to the sale of these assets.



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    10. The sale of the Acquired Assets to Lift by Debtor is hereby granted and such transfer and

        purchase approved for the Assets free and clear of all Liens, Claims, and Interests pursuant to

        Section 363(f) of the Bankruptcy Code and other terms as required pursuant to the APA. Lift

        would not have submitted the LOI and entered into the APA and would not consummate the

        transactions contemplated thereby if the sale of the Acquired Assets were not free and clear of

        all Liens, Claims, and Interests, or if the Lift would, or in the future could, be liable for any

        such Liens, Claims, and Interests, including, as applicable, certain liabilities related to the

        Debtor's business that will not be assumed by the Lift, as described in the LOI and APA.

    11. The Court finds that the offer provides fair market value; and time is of the essence to sell the

        assets and provide working capital to the Debtor. Debtor has a need for "cash collateral" in

        operation of the Debtor.

    12. Debtor disclosed that one individual who currently serves as a Director of Debtor and would

        be considered an "insider" is a non-controlling member of the LLC purchasing assets known

        as Lift.

    13. The Sale Hearing was held on an expedited basis with notice given to the Debtor, Seller, all

        Secured Creditors, Twenty Largest Unsecured Creditors and all parties filing or requesting

        notice of all matters within this case by email or fax and the Court finds such Notice to be

        adequate in these circumstances.

    14. The Court finds that the sale is in the best interest of the Debtor, its estate, and its creditors.

    15. After notice and hearing the Court approves the sale under terms and conditions as requested

        herein and the order is a final order as to which there is no just reason for delay in its

        implementation, as to which a judgment should be entered immediately and that for purposes

        of Fed. R. Bankr. P. 7062 is an order authorizing sale of property of estate under 11 U.S.C.

        Section 363 and authorizing the assumption and assignment of the executory contracts under

        11 U.S.C. 365.

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     16. The Debtor has demonstrated good, sufficient, and sound business purposes and justifications

        for approval of the motion, the LOI, and entering into the APA and any ancillary agreements

        thereto (the "Related Agreements"). The Debtor's entry into and performance under the APA

        and Related Agreements (i) are a result of due deliberation by the Debtor and constitute a

        sound and reasonable exercise of the Debtor's business judgment consistent with its fiduciary

        duties; (ii) provide value to and are beneficial to the Debtor's estate and are in the best

        interests of the Debtor and its creditors and stakeholders; and (iii) are reasonable and

        appropriate under the circumstances. Business justifications for the sale transaction (the

        "Sale Transaction") include, but are not limited to, the following: (a) the offer of Lift

        pursuant to the LOI constitutes the highest or best offer received for the Acquired Assets; (b)

        the LOI presents the best opportunity to maximize the value of the Acquired Assets and avoid

        decline and devaluation of the Acquired Assets; and (c) the value of the Debtor's estate will

        be maximized through the sale of the Acquired Assets pursuant to the APA.

     17. The Consideration to be paid by Lift as provided in the APA (i) constitutes fair, adequate, and

        reasonable consideration for the Acquired Assets; (ii) is the highest or best offer for the

        Acquired Assets; (iii) will provide a greater recovery for the Debtor's estate and creditors than

        would be provided by any other practically available alternative; and (iv) constitutes

        reasonably equivalent value and fair consideration for the Acquired Assets (as those terms are

        defined in the Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act and

        section 548 of the Bankruptcy Code).

     18. By consummating the sale pursuant to the APA, Lift is not a mere continuation of the Debtor

        or the Debtor's estates and there is no continuity, no common identity, and no continuity of

        enterprise between Lift and the Debtor. Lift is not holding itself out as a continuation of

        Debtor. Lift is not a successor to Debtor or Debtor's estate by reason of any theory of law or

        equity, and the sale does not amount to a consolidation, merger, or de facto merger of Lift

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        and the Debtor. Neither Lift nor any of its affiliates (as defined by section 101 of the

         Bankruptcy Code, "Affiliates") and their respective successors, assigns, members, partners,

        principals, and shareholders (or equivalent) shall assume or in any way be responsible for any

        obligation or liability of the Debtor and/or Debtor's estate, except as expressly provided in

        the APA. The sale and transfer of the Acquired Assets to Lift, including the assumption by

        the Debtor and assignment, transfer and/or sale to Lift of the Assigned Contracts, will not

        subject Lift to any liability (including any successor liability) with respect to the operation of

        the Debtor's business prior to closing or by reason of such transfer, except that, upon closing,

        Lift shall become liable for the applicable Assumed Liabilities as limited by the APA.



     19. The Debtor, Lift, and their respective counsel and advisors have negotiated, proposed and

        entered into the agreement to sell the Acquired Assets as described in the LOI and each of the

        transactions contemplated therein in good faith, without collusion and from arm's-length

        bargaining positions. Lift is a "good faith purchaser" and is acting in good faith within the

        meaning of section 363(m) of the Bankrnptcy Code and, as such, is entitled to all the

        protections afforded thereby. Lift has proceeded in good faith in all respects. Specifically, (i)

         Lift recognized that the Debtor was free to deal with any other party interested in acquiring

        the Acquired Assets; (ii) Lift has not violated section 363(n) of the Bankruptcy Code by any

        action or inaction; and (iii) all payments to be made by Lift and all other material agreements

        or arrangements entered into by Lift and the Debtor in connection with the sale have been

        disclosed and are appropriate. The sale price in respect of the Acquired Assets was not

         controlled by any agreement among potential bidders, and neither the Debtor nor Lift have

         engaged in collusion or any conduct that would cause or permit the Sale Transaction to be

        avoided or costs and damages to be imposed under section 363(n) of the Bankruptcy Code.

         The APA was not entered into for the purpose of hindering, delaying, or defrauding creditors

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        under the laws of the United States, any state, territory, possession, or the District of

        Columbia.

    20. The Debtor, through its President and Managing Member, Lucius D. Jordan, III, is

        authorized to execute such bills of sale, assignments or other related documents which are

        reasonably necessary to consummate and close the sale of the Acquired Assets.

    21. As of the Closing of the sale, the transfer of the Acquired Assets to Lift will be a legal, valid,

        and effective transfer of the Acquired Assets, and will vest Lift with all right, title, and

        interest of the Debtor in and to the Acquired Assets, free and clear of all Liens, Claims, and

        Interests. The consummation of the sale is legal, valid, and properly authorized under all

        applicable provisions of the Bankruptcy Code, including, sections 105(a), 363(b), 363(£),

        363(m), 365(b) and 365(£) and all of the applicable requirements of such sections have been

        complied with in respect of the sale. The Debtor (i) has full power and authority to execute

        the APA and the Related Agreements and all other documents contemplated thereby, and the

        sale has been duly and validly authorized by all necessary corporate action(s) of the Debtor;

        (ii) has all of the power and authority necessary to consummate the transactions contemplated

        by the APA and Related Agreements; and (iii) upon entry of this Sale Order, need no consent

        or approval from any other Person to consummate the sale.

    22. The automatic stay pursuant to section 362 of the Bankruptcy Code is hereby lifted with

        respect to the Debtor to the extent necessary, without further order of the Court, to (i) allow

        Lift to deliver any notice provided for in the APA and any related documents and (ii) allow

        Lift to take any and all actions permitted under the APA and any Related Agreements in

        accordance with the terms and conditions thereof. Except to the extent specifically provided

        for in this Sale Order, nothing in this Sale Order shall modify, lift, or in any way affect the

        automatic stay pursuant to section 362 with respect to the Debtor, its estate or its property.



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      23. Notwithstanding the provisions of Bankruptcy Rules 6004(h), 6006(d), 7062, this Sale Order

          shall not be stayed after the entry hereof, but shall be effective and enforceable immediately

          upon entry, and the fourteen (14) day stay provided in Bankruptcy Rules 6004(h) and 6006(d)

          is hereby expressly waived and shall not apply. Time is of the essence in closing the Sale

          Transaction, and the Debtor and Lift may close the Sale Transaction as soon as practicable.

      24. The APA, the Related Agreements, and any other documents or other instruments to be

          executed in connection therewith, may be modified, amended, or supplemented by the parties

          thereto, in a writing signed each party, and in accordance with the terms thereof, without

          further order of the Court; provided that any such modification, amendment, or supplement

          shall not materially change the terms of as set forth in the LOI any documents or other

          instruments executed in connection therewith.

      25. The Court retains jurisdiction over any and all disputes, claims or causes of action between

          the parties under the agreement.

          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

          The Court grants approval of Motion for sale of Acquired Assets free and clear of all Liens,

      Claims, and Interests and assumption and assignment of the Assigned Contracts as stated above.

      The Response filed by the Subchapter V Trustee is overruled and the Objection of the United

      States Trustee is stricken.



Approved for Entry:


Isl Toni Campbell Parker
TONI CAMPBELL PARKER (TN # 6984)
ATTORNEY FOR CHAPTER 11 Debtor
45 North Third Ave, Ste. 201
MEMPHIS, TENNESSEE 38103
(901) 483-1020
Tparker002@att.net

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